           Case 2:10-cr-00042-TLN Document 124 Filed 09/21/11 Page 1 of 3


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7
8                        IN THE UNITED STATES DISTRICT COURT
9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )      No. Cr S 10-0042 MCE
                                     )
12                  Plaintiff,       )
                                     )      STIPULATION AND ORDER TO MODIFY
13        v.                         )      CONDITIONS OF RELEASE PURSUANT TO
                                     )      18 U.S.C. § 3145; ORDER
14   KEIT TRAN,                      )
                                     )
15                  Defendant.       )
                                     )      Judge: Hon. Gregory G. Hollows
16   _______________________________ )
17
18        Keith Tran was released on February 5, 2010 under strict
19   conditions of release.    At that time he was placed on “Home
20   Incarceration” and subject to electronic monitoring.          In May of 2010
21   and then in June of 2011, those conditions were modified to allow Mr.
22   Tran some additional freedom.      His home detention condition was changed
23   to a curfew and he was still subject to electronic monitoring.         At this
24   time the parties, with the full agreement of pretrial services, are
25   requesting that special conditions 12, 13 and 14 be eliminated.         Mr.
26   Tran would then still be closely monitored by pretrial services, but he
27   will not longer be subject to the curfew or electronic monitoring.          All
28   other conditions are to remain the same.        Attached is the new Amended
              Case 2:10-cr-00042-TLN Document 124 Filed 09/21/11 Page 2 of 3


1    Conditions as proposed by the pretrial services officer and the
2    parties.
3         The parties and pretrial services feel that this action is
4    appropriate at this time since there have been no problems during his
5    supervision.
6    Dated:     September 20, 2011
                                                  Respectfully submitted,
7
                                                  DANIEL J. BRODERICK
8                                                 Federal Defender
9
                                                  /s/ Linda C. Harter
10                                                LINDA C. HARTER
                                                  Chief Assistant Federal Defender
11                                                Attorney for Defendant
                                                  KEIT TRAN
12
13                                                BENJAMIN B. WAGNER
                                                  United States Attorney
14
15                                                /s/ Linda C. Harter for
                                                  Jason S. Hitt
16                                                Assistant United States Attorney
17                                        ORDER
18        Good cause appearing and for the reasons stated in the stipulation
19   of the parties, the conditions of Mr. Keith Tran’s release are hereby
20   modified pursuant to 18 U.S.C. § 3145(a).           The new conditions of
21   release are those set forth in the Amended Release Conditions attached
22   to the parties stipulation.
23             In addition, the conditions of release included a mandatory DNA
24   test.    That condition was stayed pending further order of the Ninth
25   Circuit in the Pool case.        An order was issued on September 19, 2011 in
26   which the Ninth Circuit determined that the entire DNA issue was moot
27   since defendant Pool had pled guilty.           The Ninth Circuit (en banc)
28   vacated the Pool orders from the district court and the Ninth Circuit


     Stipulation to Modify Release Conditions -2-
                 Case 2:10-cr-00042-TLN Document 124 Filed 09/21/11 Page 3 of 3


1    panel which had upheld the condition.
2                 Therefore, the stay on the DNA condition is lifted in this
3    case.       For the reasons set forth in United States v. Pool, 645 F.Supp.
4    2d 903 (E.D. Cal. 2009), aff’d. 2009 WL 2152029, aff’d. 621 F.3d 1213
5    (9th Cir. 2010)1, the undersigned orders compliance with the DNA
6    condition.
7                 In addition to the incorporated reasoning of the above orders,
8    see also: United States v. Mitchell, __F.3d__, 2011 WL 3086952 (3rd
9    Cir. 2011) (en banc) (upholding the requirement to take a DNA sample as
10   a pretrial release condition on grounds even broader than those set
11   forth in the Pool orders); Jackman v. Lappin, 2011 WL 2433507 (N.D.
12   Ohio 2011); Haskell v. Brown, 677 F. Supp 2d 1187 (N.D. Cal. 2009).
13                Given the lengthy stays already issued in the Pool case and
14   other subsequent cases awaiting the decision of the Ninth Circuit, and
15   later the en banc panel of the Ninth Circuit, and the mootness decision
16   which places the issue back to square one in this Circuit, the
17   undersigned will issue no further stays.              The DNA condition is
18   effective now.2
19   Dated: September 20, 2011
20                                                    /s/ Gregory G. Hollows
                                                   UNITED STATES MAGISTRATE JUDGE
21
22
          1
            These orders were vacated by the Ninth Circuit (en banc) when it
23   determined that the Pool DNA issue was moot. Therefore, there is
     nothing binding or even stare decisis about these previous Pool orders.
24   However, the court herein is free to adopt the reasoning of those
     orders as the reasoning here.
25
             2
           Obviously, if the undersigned were to start the stay process
26   anew, a few years would go by before the Ninth Circuit could finally
     rule on the issue, only to face the same mootness prospect which is now
27   a reality in the Pool case. The undersigned will not agree at this
     point to judicial paralysis on enforcement of a statute which is
28   presumed (and has been found by the undersigned and others) to be
     constitutional.
     Stipulation to Modify Release Conditions -3-
